           Case:18-02044-EAG11 Doc#:157 Filed:02/25/21 Entered:02/26/21 01:54:48                                                                  Desc:
                              Imaged Certificate of Notice Page 1 of 2
                                                              United States Bankruptcy Court
                                                                  District of Puerto Rico
In re:                                                                                                                 Case No. 18-02044-EAG
ENRIQUE RODRIGUEZ NARVAEZ                                                                                              Chapter 11
MIRNA IRIS RIVERA ORTIZ
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0104-3                                                  User: colont                                                                Page 1 of 1
Date Rcvd: Feb 23, 2021                                               Form ID: npayfee                                                           Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 25, 2021:
Recip ID                 Recipient Name and Address
db/jdb                 + ENRIQUE RODRIGUEZ NARVAEZ, MIRNA IRIS RIVERA ORTIZ, 1002 AVE MUNOZ RIVERA, APT 306, SAN JUAN, PR
                         00927-5006

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 25, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 23, 2021 at the address(es) listed
below:
Name                               Email Address
CARMEN PRISCILLA FIGUEROA
                        on behalf of Creditor CRIM cfigueroa@crimpr.net cpfbkcy@gmail.com

MONSITA LECAROZ ARRIBAS
                                   ustpregion21.hr.ecf@usdoj.gov

US TRUSTEE
                                   ustpregion21.hr.ecf@usdoj.gov

VICTOR GRATACOS DIAZ
                                   on behalf of Debtor ENRIQUE RODRIGUEZ NARVAEZ bankruptcy@gratacoslaw.com gratacoslawfirm@gmail.com


TOTAL: 4
    Case:18-02044-EAG11 Doc#:157 Filed:02/25/21 Entered:02/26/21 01:54:48                                Desc:
                       Imaged Certificate of Notice Page 2 of 2
                              IN THE UNITED STATES BANKRUPTCY COURT
                                          District of Puerto Rico



IN RE:
                                                              Case No. 18−02044 EAG
ENRIQUE RODRIGUEZ NARVAEZ
MIRNA IRIS RIVERA ORTIZ
aka MYRNA IRIS RIVERA ORTIZ                                   Chapter 11

xxx−xx−7358
xxx−xx−8735
                                                              FILED & ENTERED ON 2/23/21

                        Debtor(s)



                                     NOTICE OF NON−PAYMENT OF FEE

  Pursuant to P.R. LBR 5080−1 (b), the document filed by you on 02/18/2021, requires a prescribed fee that must be
paid in advance of the service to be performed by the Clerk's Office. Failure to pay may result on the revocation of
your password, pursuant to P.R. LBR 5005−4 (b) (2) (C) (iv).

   Motion or Notice to convert a case.
   Amended Schedule(s) D, E or F, list of creditors or mailing list.
   Motion to Reopen Case.
   Notice or Application removing an adversary proceeding.
   Motions to terminate, annul, modify or conditions to automatic stay.
   Motion to compel abandonment.
   Motion to withdraw the reference of a case or proceeding.
   Other: Motion to Sell Property Free and Clear of Liens

In San Juan, Puerto Rico, this Tuesday, February 23, 2021 .
